                                                       FILED: April 23, 2025


                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT


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                                  No. 25-1162
                             (1:24-cv-03744-BAH)
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RYAN DILLON-CAPPS

            Plaintiff - Appellant

v.

OHANA GROWTH PARTNERS, LLC; VICTOR C. BRICK, CEO/Co-Majority
Owner; GLENN NORRIS, CFO/Equity Owner; EARL IHLE, Equity Owner;
TERRY WOODS, Equity Owner; STACEY R. WITTELSBERGER, Co-
Founder/Special Advisor; Director, Bengur Bryan; Partner, Patriot Capital;
CHARLES A. BRYAN, Co-Founder/Managing Director; Partners & Special
Advisor, Patriot Capital; Co-Founder/Special Advisor, Exeter Street Capital
Partners; RICHARD HARTMAN, VP of People and Culture; JUSTIN
DRUMMOND, President; HOLLY D. BUTLER, Principal; STEPHEN D.
FRENKIL, Principal; ROBERT S. BRENNEN, Principal; RANDALL ROMES,
Principal, Clifton Larson Allen LLC; DANIEL J. LEVETT, Senior Director;
JUDGE DESIMONE, JR.; JUDGE TRUFFER; JUDGE BARRANCO; JUDGE
ALEXANDER; JUDGE BATTISTA; JUDGE MAYER; JUDGE STRINGER;
JUDGE ROBINSON, JR.; CLERK ENSOR; VICTORIA K. HOFFBERGER,
Associate; JESSICA L. DUVALL, Associate; STATE OF MARYLAND;
ALARIS EQUITY PARTNERS USA INC.; BRICK BODIES SERVICES, INC.;
DOWN UNDER GROWTH PARTNERS, LLC; MILES & STOCKBRIDGE P.
C.; PLA-FIT FRANCHISE, LLC

            Defendants - Appellees
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                                   ORDER
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      Upon consideration of appellant’s motion for a waiver of PACER fees for

electronic access to the docket, the court finds that an exemption is appropriate to

avoid unreasonable burdens and promote public access to information.

      Accordingly, the court grants appellant an exemption from PACER fees for

such electronic access to this court’s docket and filings in case No. 25-1162,

Ryan Dillon-Capps v. Ohana Growth Partners, LLC, through October 20, 2025.

This exemption applies only to this court’s electronic docket and is not a waiver of

PACER fees for electronic access to the dockets of other federal courts.

                                       For the Court--By Direction

                                       /s/ Nwamaka Anowi, Clerk
